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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                 BID PROTEST

                                               )
CAPITAL TECHNOLOGY                             )
GROUP, LLC,                                    )
                                               )
                Plaintiff,                     )
                                               )
       v.                                      )
                                               )       Case No. 1: 23-cv-02076-EGB
THE UNITED STATES,                             )       Judge Eric G. Bruggink
                                               )
                Defendant,                     )
                                               )
IGNITEACTION LLC,                              )
                                               )
                Defendant-Intervenor,          )
                                               )

                APPLICATION FOR ACCESS TO INFORMATION UNDER
               PROTECTIVE ORDER BY OUTSIDE OR INSIDE COUNSEL

     1. I, Bryan R. Williamson, hereby apply for access to protected information covered by the
Protective Order issued in connection with this proceeding.

      2. I am an attorney with the law firm of Arnold & Porter Kaye Scholer LLP and have been
retained to represent IgniteAction LLC, a party to this proceeding.

     3. I am a member of the bar of the United States Court of Federal Claims.

      4. My professional relationship with the party I represent in this proceeding and its
personnel is strictly one of legal counsel. I am not involved in competitive decision making as
discussed in U.S. Steel Corp. v. United States, 730 F.2d 1465 (Fed. Cir. 1984), for or on behalf of
the party I represent, any entity that is an interested party to this proceeding, or any other firm that
might gain a competitive advantage from access to the information disclosed under the Protective
Order. I do not provide advice or participate in any decisions of such parties in matters involving
similar or corresponding information about a competitor. This means that I do not, for example,
provide advice concerning, or participate in decisions about, marketing or advertising strategies,
product research and development, product design or competitive structuring and composition of
bids, offers, or proposals with respect to which the use of protected information could provide a
competitive advantage.
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      5. I identify here (by writing "none" or listing names and relevant circumstances) those
attorneys in my firm who, to the best of my knowledge, cannot make the representations set forth
in the preceding paragraph:

     NONE

      6. I identify here (by writing "none" or listing names, position, and responsibilities) any
member of my immediate family who is an officer or holds a management position with an
interested party in the proceeding or with any other firm that might gain a competitive advantage
from access to the information disclosed under the Protective Order.

     NONE

      7. I identify here (by writing "none" or identifying the name of the forum, case number,
date, and circumstances) instances in which I have been denied admission to a protective order,
had admission revoked, or have been found to have violated a protective order issued by any
administrative or judicial tribunal:

    NONE

      8. I have read the Protective Order issued by the court in this proceeding. I will comply in
all respects with that order and will abide by its terms and conditions in handling any protected
information produced in connection with the proceeding.

     9. I acknowledge that a violation of the terms of the Protective Order may result in the
imposition of such sanctions as may be deemed appropriate by the court and in possible civil and
criminal liability.
                                            ***
       By my signature, I certify that, to the best of my knowledge, the representations set forth
above are true and correct.




                                                            June 20, 2024
Signature                                                   Date Executed
Bryan R. Williamson, Associate
Typed Name and Title
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Telephone & Facsimile Numbers
Bryan.Williamson@arnoldporter.com
E-mail Address




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